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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION
                                          ______

ROBERT CAMPBELL,
                         Plaintiff,                   Case No. 2:20-cv-95

v.                                                    Honorable Paul L. Maloney

UNKNOWN LABELLE,
                         Defendant.
____________________________/

                           ORDER DENYING LEAVE
                TO PROCEED IN FORMA PAUPERIS - THREE STRIKES

               In accordance with the opinion entered this day,

               IT IS ORDERED that Plaintiff is DENIED leave to proceed in forma pauperis

because he has “three strikes” pursuant to 28 U.S.C. § 1915(g).

               IT IS ALSO ORDERED that within twenty-eight (28) days hereof, Plaintiff shall

pay the $400.00 filing fee to the Clerk of this Court. Plaintiff’s failure to comply with this order

will result in dismissal of this case without prejudice, and assessment of the $400.00 filing fee.



Dated:    July 9, 2020                                /s/ Paul L. Maloney
                                                      Paul L. Maloney
                                                      United States District Judge
SEND REMITTANCES TO:

Clerk, U.S. District Court
330 Federal Bldg.
202 W. Washington St.
PO Box 698
Marquette, MI 49855

All checks or other forms of payment shall be payable to “Clerk, U.S. District Court.”
